Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 1 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 2 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 3 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 4 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 5 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 6 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 7 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 8 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 9 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 10 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 11 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 12 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 13 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 14 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 15 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 16 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 17 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 18 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 19 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 20 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 21 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 22 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 23 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 24 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 25 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 26 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 27 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 28 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 29 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 30 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 31 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 32 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 33 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 34 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 35 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 36 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 37 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 38 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 39 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 40 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 41 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 42 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 43 of 44
Case 1:19-bk-12480-MT   Doc 1 Filed 09/30/19 Entered 09/30/19 18:48:25   Desc
                        Main Document    Page 44 of 44
